Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 1 of 11 PageID
                                    #: 5584




                   Thomas-Jensen
                    Affirmation



                      Exhibit # 114
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 2 of 11 PageID
                                    #: 5585
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 3 of 11 PageID
                                    #: 5586
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 4 of 11 PageID
                                    #: 5587
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 5 of 11 PageID
                                    #: 5588
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 6 of 11 PageID
                                    #: 5589
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 7 of 11 PageID
                                    #: 5590




                      Exhibit A
Case 1:25-cv-00039-JJM-PAS         Document 68-114        Filed 02/07/25     Page 8 of 11 PageID
                                          #: 5591




                                                                                January 26, 2025

  Subject: Suspension/Stop Work Order of Activities for all USAID/Egypt Programs

  Re: Executive Order “Reevaluating and Realigning United States Foreign Aid;” Notice on
  Implementation of Executive Order: Reevaluating and Realigning United States Foreign Aid; and
  Executive Order “Ending Radical And Wasteful Government DEI Programs And Preferencing”.

  Dear USAID/Egypt Implementing Partners:

  This notice serves as a directive to all USAID/Egypt Implementing Partners (IPs) to immediately
  stop, cease, and/or suspend any work being performed under your respective USAID/Egypt
  contract, task order, grant, cooperative agreement, or other acquisition or assistance
  instrument in accordance with the Executive Order dated January 20, 2025 and entitled
  “Reevaluating and Realigning United States Foreign Aid.”

  This action is taken in accordance with the applicable authority under your award, which may
  include:
      -​ FAR Clause 52.242-15 Stop-Work Order (or Alternate I);
      -​ 2 CFR 700.14 (Award Suspension and Termination); or
      -​ the Mandatory Standard Provisions for Non-U.S. Nongovernmental Organizations on
         Award Suspension and Termination, as appropriate.

  All IPs must immediately begin to comply with this Suspension/Stop Work Order. The IP shall
  not resume work under the acquisition or assistance award until notification has been received
  in writing from the Contracting/Agreement Officer that this Suspension/Stop Work Order has
  been cancelled. Further, all IPs must issue a 90-day suspension of all subcontracts and
  subawards already signed under the prime award.

  The Secretary of State has approved waivers of the pause under the Executive Order, subject to
  further review, with respect to:

         1. emergency food assistance and administrative expenses, including salaries, necessary
         to administer such assistance; and
Case 1:25-cv-00039-JJM-PAS         Document 68-114        Filed 02/07/25     Page 9 of 11 PageID
                                          #: 5592




         2. legitimate expenses incurred prior to January 24, 2025, under existing awards or
         legitimate expenses associated with stop-work orders, suspensions, or pause-related
         amendments.

  Partners shall take all reasonable steps to minimize the incurrence of costs allocable to their
  awards.

  Additionally, and in accordance with the “Notice on Implementation of Executive Order: DEIA
  Activities under Existing USAID Awards” sent by Jami J. Rodgers, USAID Senior Procurement
  Executive on January 24, 2025, please send a certification that DEIA-related activities under
  your award have completely ceased to Egypt.OAA@usaid.gov with a copy to the USAID Industry
  Liaison team with the Subject Line: “DEIA Partner Certification” at IndustryLiaison@usaid.gov.
  The confirmation should include a statement confirming that all DEIA activities have stopped
  and a confirmation that no further costs will be incurred related to DEIA activities under your
  contract/agreement with USAID. If your award does not include any DEIA activities, please
  respond stating that.

  Please confirm your receipt and acknowledgement with this Suspension/Stop Work Order by
  replying to Egypt.OAA@usaid.gov.

  Should you have questions concerning this letter, please submit them at Egypt.OAA@usaid.gov
  and copy your cognizant AOR/COR and Contracting/Agreement Officer. We will follow up with
  further guidance as soon as possible.

  Thank you for your understanding and cooperation.

  Sincerely,




  Matthew Courtad, Director
  Contracting/Agreements Officer
  USAID/Egypt Office Acquisition and Assistance
Case 1:25-cv-00039-JJM-PAS   Document 68-114   Filed 02/07/25   Page 10 of 11
                              PageID #: 5593




                   Exhibit B
               Case 1:25-cv-00039-JJM-PAS                     Document 68-114   Filed 02/07/25   Page 11 of 11
                                                               PageID #: 5594

                              MISSISSIPPI STATE                                         Office of Sponsored Projects
                                                                                                            P.O. Box 6156
                                           U N I V E R 5 I T Y,M                                        301 Research Blvd
                                                                                                      Starkville, MS 39759
                                                                                                         P. 662.325.7404
                                                                                                         F. 662.325.3803
                                                                                                    www.osp.msstate.edu

January 28, 2025

Project Title: Improving Fish-Related Food Safety Practices in Bangladesh
Project Dates: January 1, 2025 - December 31, 2025
Funding Request: $166,732.00
Pl: Mohammad Aminul Islam

Subject: USAID Cooperative Agreement No. 7200AA18CA00030 - MSU subaward 193900.312455.14C

Dear Washington State University:

Mississippi State University has just received notification from USAID that, pursuant to 2 CFR 700.14, all
actions and funding obligations for this award have been suspended until further notice. This letter serves as
an official notification to immediately stop work on the subject award until otherwise directed.

You shall immediately comply with the terms of this letter and no work shall be performed under this award
until further notice.

Please acknowledge receipt of this letter. If you have any questions regarding this action, please do not
hesitate to contact our office.

Sincerely,


Kacey StriGkland (Jan 28, 202514:24 CST)



Kacey Strickland
Assistant Vice President & Executive Director, Research Administration
Mississippi State University


Acknowledgement of Receipt:



Name:                                                        Date:
Title:
